811 F.2d 1264
    3 UCC Rep.Serv.2d 142
    CALIFORNIA AND HAWAIIAN SUGAR COMPANY, a California Corp.,Plaintiff/Counterdefendant/Appellee/Cross-Appellant,v.SUN SHIP, INC., a Pennsylvania Corp.,Defendant/Counterclaimant/Appellant/Cross-Appellee.
    Nos. 85-2310, 85-2356.
    United States Court of Appeals,Ninth Circuit.
    March 3, 1987.
    
      Dinkelspiel, Donovan &amp; Reder, David Wilson and Ben I. Hamburg, San Francisco, Cal., for defendant/counterclaimant/appellant/cross-appellee.
      McCutchen, Doyle, Brown &amp; Enersen, John Reese and Loyd D. McCormick;  Lillick, McHose &amp; Charles and Graydon S. Staring, San Francisco, Cal., for plaintiff /counterdefendant/appellee/cross-appellant.
      Before NELSON, CANBY, and NOONAN, Circuit Judges.
    
    ORDER
    
      1
      The opinion in this case filed July 22, 1986, 794 F.2d 1433, is amended as follows:
    
    
      2
      1. Delete the text in the first full paragraph at 1439 beginning with the sentence "C and H claimed that it...."
    
    
      3
      2. The first sentence of the second full paragraph at 1439 should be added to the preceding paragraph and changed from "Proof of this loss is difficult" to "Proof of its loss is difficult."
    
    
      4
      The full court has been advised of the suggestion for rehearing en banc and of the amendments and no judge of the court has requested a vote to rehear the matter en banc.  The motion for rehearing is denied and the suggestion for rehearing en banc is rejected.  Judge Nelson dissents from the denial of the petition for rehearing.
    
    
      5
      The motion for leave to file a supplement to the petition for rehearing is denied.
    
    